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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                       Plaintiff,


                       vs.                             Case No. 99-10023-04-JTM


 ROBERT TURNER,
                       Defendant.




                              MEMORANDUM AND ORDER



       This matter is before the court on defendant Robert Turner’s Motion for

Reconsideration of this court’s Order (Dkt. 313) determining that it was without

jurisdiction to alter the judgment’s imposition of joint and several liability for restitution.

(Dkt. 181). See United States v. Rodriguez, No. 01-497-RDR, 2008 WL 5203722, *2 (S.D.N.Y.

Dec. 11, 2008) (court was without jurisdiction to modify joint and several restitution order

outside the time limits of Fed.R.Crim.Pr. 35). Under D.Kan.R. 7.3, motions to reconsider

“must be based on an intervening change in controlling law, the availability of new

evidence, or the need to correct clear error or prevent manifest injustice.” D. Kan. Rule

7.3(b)(1)-(3).

       In his original motion, Turner had sought to modify or limit the total amount of
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restitution owed, not on the basis of a change in his economic circumstances or his ability

to pay restitution under 18 U.S.C. § 3664(k), but rather advancing a general attack on the

joint and several nature of the restitution order itself. Turner complained that “it is unfair

for one defendant to pay for more than his/her share.” (Dkt. 312, at 2).

       The present motion for reconsideration offers no additional argument, and simply

repeats the argument that joint and several liability “is unfair.” (Dkt. 314 at 2). Nothing in

the motion presents any justification for concluding that the court has jurisdiction to alter

the judgment.

       IT IS ACCORDINGLY ORDERED this 6th day of June, 2016, that the defendant’s

Motion for Reconsideration (Dkt. 314) is denied.



                                                  s/J. Thomas Marten
                                                  J. THOMAS MARTEN, JUDGE




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